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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,                Case No. 4:20-cv-00957-SDJ

 v.                                                Hon. Sean D. Jordan

 Google LLC,

                        Defendants.


                       UNOPPOSED MOTION TO FILE UNDER SEAL

       Plaintiff States (“States”) respectfully move the Court for leave to file under seal

PLAINTIFF STATES’ RESPONSE TO GOOGLE’S MOTION TO STRIKE and the exhibits

thereto (“States’ Response and Exhibits”), to be filed later today. Defendant Google LLC

(“Google”) does not oppose the States’ sealing request.

       The States, with Google’s consent, request to file under seal the States’ Response and

Exhibits because: they respond to, cite, or attach materials including expert reports that Google, in

requesting to seal its Motion to Strike, has stated “reflect non-public, highly sensitive commercial

and technological information that, if disclosed publicly, would likely cause Google competitive

harm.” See ECF No. 612 at 2. Consistent with Local Rule CV-5, the States will work with Google

to file a redacted version—with as limited redactions as possible—of the above-referenced

documents within seven (7) days.

       For the reasons stated above, the States respectfully request that this Court allow the States

to file the above-referenced documents under seal.
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Dated: October 1, 2024.


Respectfully submitted,

 /s/ W. Mark Lanier                               /s/ Ashley Keller
 W. Mark Lanier                                   Ashley Keller
 Mark.Lanier@LanierLawFirm.com                    ack@kellerpostman.com
 Alex J. Brown                                    150 N. Riverside Plaza, Suite 4100
 Alex.Brown@LanierLawFirm.com                     Chicago, Illinois 60606
 Zeke DeRose III                                  (312) 741-5220
 Zeke.DeRose@LanierLawFirm.com
 Jonathan P. Wilkerson                            Zina Bash
 Jonathan.Wilkerson@LanierLawFirm.com             zina.bash@kellerpostman.com
 10940 W. Sam Houston Pkwy N                      111 Congress Avenue, Suite 500
 Suite 100                                        Austin, TX 78701
 Houston, TX 77064                                (512) 690-0990
 (713) 659-5200
 THE LANIER LAW FIRM, PLLC                        Noah S. Heinz
                                                  noah.heinz@kellerpostman.com
                                                  1101 Connecticut, N.W., 11th Floor
                                                  Washington, DC 20005
                                                  (202) 918-1123
                                                  KELLER POSTMAN LLC



Counsel for Texas, Idaho, Louisiana (The Lanier
Law Firm only), Indiana, Mississippi, North
Dakota, South Carolina, and South Dakota

Submitted on behalf of all Plaintiff States




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NORTON ROSE FULBRIGHT US LLP
Joseph M. Graham, Jr.
joseph.graham@nortonrosefulbright.com
Geraldine Young
geraldine.young@nortonrosefulbright.com
1550 Lamar Street, Suite 2000
Houston, Texas 77010
(713) 651-5151

Marc B. Collier
Marc.Collier@nortonrosefulbright.com
98 San Jacinto Blvd., Suite 1100
Austin, Texas 78701
(512) 474‐5201



FOR PLAINTIFF STATE OF TEXAS:

KEN PAXTON
Attorney General

/s/ Trevor E. D. Young
Brent Webster, First Assistant Attorney General of Texas
Brent.Webster@oag.texas.gov
James R. Lloyd, Deputy Attorney General for Civil Litigation
James.Lloyd@oag.texas.gov
Trevor Young, Deputy Chief, Antitrust Division
Trevor.Young@oag.texas.gov

STATE OF TEXAS, OFFICE OF THE ATTORNEY GENERAL
P.O. Box 12548
Austin, TX 78711-2548
(512) 936-1674

Attorneys for Plaintiff State of Texas




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                           CERTIFICATION OF CONFERENCE

       I certify that counsel has complied with the meet and confer requirement in Local Rule

CV-7(h), conferring on October 1, 2024 via email with counsel of record, and that Google LLC

does not oppose the foregoing sealing request.

                                                   /s/ Geraldine Young
                                                   Geraldine Young




                                CERTIFICATE OF SERVICE

       I certify that on October 1, 2024, this document was filed electronically in compliance with

Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

Rule CV-5(a)(3)(A).

                                                   /s/ Geraldine Young
                                                   Geraldine Young




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